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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

 UNITED STATES OF AMERICA,                       §
                                                 §
               Plaintiff,                        §
                                                 §
 v.                                              §     CRIMINAL ACTION NO. 4:06CR016-
                                                 §               ALM/CAN
 ZACHARY TAYLOR ROTH (7)                         §
                                                 §
               Defendant.                        §


                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

        Now before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the

 Court conducted a hearing on September 2, 2016, to determine whether Defendant violated his

 supervised release. Defendant was represented by Robert Arrambide. The Government was

 represented by Ernest Gonzalez.

        On November 28, 2006, Defendant was sentenced by the Honorable United States

 District Judge Richard A. Schell of the Eastern District of Texas after pleading guilty to the

 offense of Conspiracy to Manufacture, Distribute or Possess with Intent to Manufacture,

 Distribute or Dispense Methamphetamine. Defendant was sentenced to one hundred twenty

 (120) months imprisonment, followed by five (5) years of supervised release. On February 24,

 2014, Defendant completed his period of imprisonment and began service of his term of

 supervised release. On June 13, 2016, the case was transferred to United States District Judge

 Amos Mazzant.




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        On August 22, 2016, the U.S. Probation Officer executed a Petition for Warrant or

 Summons for Offender Under Supervision [Dkt. 662 Sealed]. The Petition asserted that

 Defendant violated five (5) conditions of supervision, as follows: (1) Defendant shall refrain

 from any unlawful use of a controlled substance; (2) Defendant shall refrain from excessive use

 of alcohol and shall not purchase, possess, use, distribute, or administer any controlled substance

 or any paraphernalia related to any controlled substances, except as prescribed by a physician;

 [sic](4) Defendant shall not associate with any persons engaged in criminal activity, and shall

 not associate with any person convicted of a felony unless granted permission to do so by the

 probation officer; [sic](5) Defendant shall notify the probation officer within seventy-two hours

 of being arrested or questioned by a law enforcement officer; and [sic](6) Defendant shall

 participate in a program of testing and treatment for drug abuse, under the guidelines and

 direction of the U.S. Probation Office, until such time as the defendant is released from the

 program by the probation officer.

        The Petition alleges that Defendant committed the following acts: (1) and (2) On March

 19, 2016, Mr. Roth provided a urine sample which tested positive for methamphetamine. The

 offender admitted to using verbally and in writing. On March 23, 2016, Mr. Roth provided a

 urine sample which tested positive for methamphetamine and opiates.           The specimen was

 confirmed by Alere Laboratory. Defendant did not have a valid prescription for opiate

 medication. On April 12, 2016, Mr. Roth voluntarily signed a ‘Response to Allegation of

 Violation of Condition of Supervision’ form admitting to new methamphetamine use on or about

 April 9, 2016. On June 16, 2016, Mr. Roth provided a urine sample which tested positive for

 methamphetamine. The specimen was confirmed by Alere Laboratory. [sic] (4) At

 approximately 6:35 a.m. on July 26, 2016, Paris Police Officers questioned Mr. Roth inside a



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 residence located at 1210 15th Street Northwest in Paris, Texas. During the same incident, and

 in the same residence, officers arrested Amanda Gilbert for outstanding warrants. According to

 the Lamar County District Clerk, and a criminal records check, Ms. Gilbert had been previously

 convicted of multiple felony crimes, including but not limited to Unauthorized Use of a Motor

 Vehicle and Forgery in the State of Texas. Mr. Roth did not receive permission to associate with

 Amanda Gilbert. At approximately 1:30 p.m. on August 18, 2016, Paris Police Detectives

 conducted a traffic stop in the 1000 block of East Booth Street in Paris, Texas. The driver of the

 vehicle was identified as the Defendant and the front passenger as John Womack. During the

 contact, Mr. Womack was discovered to be in possession of an electronic cigarette device

 containing Methamphetamine residue. A small piece of synthetic marijuana was located in the

 passenger’s seat as well was a twisted Dollar Store receipt in Mr. Womack’s side of the vehicle

 ashtray. Further inspection of the twisted paper yielded an amount of methamphetamine and the

 Defendant’s associate was arrested for the State Jail Felony offense of Possession of a Controlled

 Substance. Mr. Roth denied any prior knowledge of the drugs in his vehicle; however, it is clear

 he was associating with an individual engaged in criminal activity; [sic] (5) On June 9, 2016,

 the U.S. Probation Office established contact with the Lamar County Sheriff’s Office and

 learned that Mr. Roth was questioned by a Constable at a local courthouse in Paris, Texas. The

 law enforcement officer confirmed he detained Mr. Roth after a perceived disturbance between

 the Defendant and his girlfriend. Mr. Roth was eventually released but failed to notify the

 probation officer within seventy-two hours of the contact. On June 16, 2016, Mr. Roth signed a

 written admission for this violation; and [sic] (6) On April 28, June 3 and 10, 2016, Mr. Roth

 failed to attend substance abuse counseling as directed with Blackburn Social Services (Texoma




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 Counseling Associates), a contract treatment provider in Denison, Texas. On June 16, 2016, Mr.

 Roth signed a written admission for this violation.

        Prior to the Government putting on its case, Defendant entered a plea of true to

 allegations one (1), two (2), four (4), five (5) and six (6) of the Petition, specifically Defendant

 should refrain from any unlawful use of a controlled substance; refrain from excessive use of

 alcohol and not purchase, possess, use, distribute, or administer any controlled substances or

 paraphernalia; shall not engage in any criminal activity; shall notify the probation officer within

 seventy-two hours of being arrested; and participate in a program of testing and treatment for

 drug abuse.

        Having considered the Petition and the plea of true to one (1), two (2), four (4), five (5)

 and six (6) of the Petition, the Court finds that Defendant did violate his conditions of supervised

 release.

        Defendant waived his right to allocate before the District Judge and his right to object to

 the report and recommendation of this Court.

                                     RECOMMENDATION

        Pursuant to the Sentencing Reform Act of 1984, the Court recommends that Defendant’s

 supervised release be revoked and that he be committed to the custody of the Bureau of Prisons

 to be imprisoned for a term of twelve (12) months and one (1) day, with no term of supervised

 release to follow.




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        The Court also recommends that Defendant be housed in the Bureau of Prisons, North

 Texas Region, if appropriate.

          SIGNED this 6th day of September, 2016.




                                  ___________________________________
                                  Christine A. Nowak
                                  UNITED STATES MAGISTRATE JUDGE




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